            Case 3:21-cv-08458-LB Document 15 Filed 01/06/22 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA


BRYON JACKSON                                           CASE No C 21-cv-08458-LB


                                Plaintiff(s)
                                                        ADR CERTIFICATION BY
 v.
                                                        PARTIES AND COUNSEL
 TARGET CORPORATION
                                Defendant(s)

Pursuant to Civil L.R. 16-8(b) and ADR L.R. 3-5 (b), each of the undersigned certifies that he or
she has:

      1) Read the handbook entitled “Alternative Dispute Resolution Procedures Handbook”
         (available at cand.uscourts.gov/adr).
      2) Discussed with each other the available dispute resolution options provided by the Court
         and private entities; and
      3) Considered whether this case might benefit from any of the available dispute resolution
         options.
 Date:January 4, 2022                                     /s/ Jenny Shock
                                                                           Party
 Date:January 4, 2022                                     /s/ David Roth, Esq.
                                                                          Attorney

Counsel further certifies that he or she has discussed the selection of an ADR process with
counsel for the other parties to the case. Based on that discussion, the parties:
       intend to stipulate to an ADR process
       prefer to discuss ADR selection with the Assigned Judge at the case management
        conference


       Date: January, 4, 2022                          /s/ David Roth. Esq.
                                                                             Attorney




  Important! E-file this form in ECF using event name: “ADR Certification (ADR LR 3-5 b) of Discussion of ADR
  Options.”



 Form ADR-Cert rev. 1-15-2019
         Case 3:21-cv-08458-LB Document 15 Filed 01/06/22 Page 2 of 3




 1                                         PROOF OF SERVICE
 2 STATE OF CALIFORNIA, COUNTY OF SAN FRANCISCO

 3        At the time of service, I was over 18 years of age and not a party to this action. I am
   employed in the County of San Francisco, State of California. My business address is One
 4 California Street, Suite 900, San Francisco, CA 94111.

 5        On January 6, 2022, I served true copies of the following document(s) described as ADR
   CERTIFICATION BY PARTIES AND COUNSEL on the interested parties in this action as
 6 follows:

 7                                  SEE ATTACHED SERVICE LIST
 8         BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed the
   document(s) with the Clerk of the Court by using the CM/ECF system. Participants in the case
 9 who are registered CM/ECF users will be served by the CM/ECF system. Participants in the case
   who are not registered CM/ECF users will be served by mail or by other means permitted by the
10 court rules.

11          I declare under penalty of perjury under the laws of the State of California that the
     foregoing is true and correct.
12
            Executed on January 6, 2022, at San Francisco, California.
13

14

15

16                                                     Diana Norton
17

18
19
20

21

22

23

24

25

26

27

28
       Case 3:21-cv-08458-LB Document 15 Filed 01/06/22 Page 3 of 3




 1                                   SERVICE LIST
                          Jackson v. Target - Alameda CA 94501
 2                                Case No. RG21110499
 3 Bryon Jackson                              Plaintiff, In Pro Per
   1350 Marina Village Parkway
 4 Alameda, CA 94501
   Tel: (201) 776-4282
 5 Email: zaqw1478@hotmail.com

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18
19
20

21

22

23

24

25

26

27

28


                                          2
